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UNITED STATES DISTRICT COURT 0 §§ ?’ ----- D»C-
WESTERN DISTRICT OF TENNESSEE 85 JUN -5 pH ,, 30
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NATHANIEL ANTHONY JUDGMENT IN A CIVIL CASE
v¢
SHELBY COUNTY HEALTH CARE CASE NO: 05-2152-D

CORPORATION d/b/a THE REGIONAL
MEDICAL CENTER AT MEMPHIS,
SABRINA LUCKETT, AND

NANCY BANKS

 

DECISION BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

Tr IS SO ORDERED AND ADJUDGED that in accordance with the
Stipulation and Order of Dismissal With Prejudice entered on June
2, 2005, this cause is hereby dismissed with prejudice.

APPROVED:

 

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Clerk of COurt

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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:05-CV-02152 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

 

 

Nathaniel Anthony
1 181 Marble St.
Memphis7 TN 38108

Honorable Bernice Donald
US DISTRICT COURT

